Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 1 of 19 PageID #: 27




                        Exhibit 2
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 2 of 19 PageID #: 28

                                                                                                 USOO7336375B1


(12) United States Patent                                                   (10) Patent No.:                  US 7,336,375 B1
       Faul et al.                                                          (45) Date of Patent:                                 Feb. 26, 2008

(54) WIRELESS METHODS AND SYSTEMS FOR                                           5,829,444 A * 11/1998 Ferre et al. ................. 128/897
        THREE-DIMIENSIONAL NON-CONTACT                                          5,920,395 A        7, 1999 Schulz
        SHAPE SENSING                                                           6,216,029 B1 * 4/2001 Paltieli ....................... 600/427
                                                                                6,512,838 B1       1/2003 Rafi et al.
(75) Inventors: Ivan Faul, 323 Overlook La., Boulder,                            s    R             2. y t
                CO (US) 80302-9444; Waldean Allen                                3.046 is
                                                                                 w -                58. NE." OSIIlal . . . . . . . . . . . . . . . . . . . . . . 600/427
                      Schulz, Boulder, CO (US)                                  6,709,116 B1       3/2004 Raskar et al.
                                                                                6,724,930 B1       4/2004 Kosaka et al.
(73) Assignee: Ivan Faul, Boulder, CO (US)                                      6,829,384 B2      12/2004 Schneiderman et al.
                                                                                6,847,360 B2 *     1/2005 Yahashi ...................... 345/419
(*) Notice:           Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35                                        (Continued)
                      U.S.C. 154(b) by 0 days.                                              OTHER PUBLICATIONS
(21) Appl. No.: 11/757,374                                               Polhemus, “FastScan”, Apr. 2003, Polhemus, Colchester, VT.
(22) Filed:           Jun. 3, 2007                                                                   (Continued)
                                       O   O                             Primary Examiner Sang H. Nguyen
            Related U.S. Application Data                                (74) Attorney, Agent, or Firm—Hansen Huang Tech. Law
(62) Division of application No. 11/538,753, filed on Oct.               Group LLP
        4, 2006, now Pat. No. 7,256,899.                                 (57)                       ABSTRACT
(51) Int.
     G0IBCl.II/4                (2006.01)                                Systems for acquiring an approximation of the Surface
     G06K 9/00                  (2006,015                                geometry of a 3-dimensional object include a self-powered
     G06T I7/00                 (2006.015                                wireless, non-contact optical scanner, the location and ori
     H04N 5/225                 (2006,015                                entation of which may be tracked with respect to an object
(52) U.S. Cl. ...................... so so, so
                         382f152 345,420. 345/168. 600,419
                                                                         coordinate system, and a processor configured for projecting
                                                                         a pattern of structured light on the object, moving the pattern
58) Field of Classificati          s       h s             356,602 640   with respect to the object, acquiring images of the intersec
(58)    Field of Classification ears           --- -----                 tion of the light on the object over time, determining local
                       356/4.01, 4.94 382/152, 15, 253, 285:             coordinates of points on the intersection with respect to the
        S         1. R.R          439;         /420, R t 8/897           pattern, tracking the position of the pattern, transforming the
            ee appl1cauon Ille Ior complete searcn n1story.              local coordinates to object coordinates, and accumulating
(56)                    References Cited                                 the points as a model of the surface of the object. The
                                                                         systems may wirelessly and possibly compactly transmit
                  U.S. PATENT DOCUMENTS                                  geometrical data which characterizes an intersection for a
       4,737,032 A       4, 1988 Addleman                                given position of the scanner with respect to the object.
       5, 198,877 A      3, 1993 Schulz
       RE35,816 E        6, 1998 Schulz                                                   19 Claims, 7 Drawing Sheets
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 3 of 19 PageID #: 29


                                                    US 7,336,375 B1
                                                             Page 2

               U.S. PATENT DOCUMENTS                              Metris, “XC50-LS Cross Scanner”, downloaded May 31, 2007,
                                                                  Metris, Leuven, Belgium, http://www.metris.com/cmm scanners.
     6,980,302 B2    12/2005 Knighton et al.                      Opton, “L Series () Surftizer LN-206D, downloaded May 31, 2007,
     7,009,717 B2     3/2006 Van Coppenolle                       Opton & Co. Ltd. http://www.opton.co.jp/techreplmd/md1 4/
     7,106,885 B2      9, 2006 Osterweil et al.                   mdel 4 n.html.
 2002/0175994 A1      1 1/2002 Sakakibara et al.
 2005, OO69172 A1     3/2005 Uchiyama                             Breuckmann, “stereoScan’, Jul. 2006, Breuckmann.
                                                                  GOM. “ATOS', downloaded May 31, 2007, GOM mbH,
                 OTHER PUBLICATIONS                               Braunschweig, Germany, C:\documents\RIHTLG\clients\1007 B I
                                                                  G\003        wireless        Spraylight\RCE\GOM. Measuring
GFM, “ILS Intelligenter Lichtschnittsenor, May 2000, GFM          Systems—ATOSmht.
Gesellschaft für Mefitecjnik mbH, Aachen, Germany, http://www.
gfm-aachen.de/.                                                   * cited by examiner
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 4 of 19 PageID #: 30


U.S. Patent         Feb. 26, 2008    Sheet 1 of 7        US 7,336,375 B1




                                Fig. 1
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 5 of 19 PageID #: 31


U.S. Patent          Feb. 26, 2008    Sheet 2 of 7        US 7,336,375 B1




                                     Fig. 2
                                                              26
                                                     12             24




                38

                      40
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 6 of 19 PageID #: 32


U.S. Patent         Feb. 26, 2008    Sheet 3 of 7        US 7,336,375 B1




                                    Fig. 3
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 7 of 19 PageID #: 33
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 8 of 19 PageID #: 34


U.S. Patent               Feb. 26, 2008          Sheet S of 7                   US 7,336,375 B1




                                        Fig. 5                                              500
          Establish a common coordinate system related to an object to be scanned
                                                                                            5O
       Project a known structured pattern of light onto an object, producing illuminated
            surface points on the intersection between the pattern and the object
                                                                                            52O
            Form an image of the intersection of the pattern of light on the object
                                                                                            530
       Process points in the image of the intersection to obtain a set of 3-d coordinates
        of corresponding surface points on the intersection, where the 3-d coordinates
                               are relative to the pattern of light
                                                                                            540
          Wirelessly transmit the processed surface point coordinates to a receiver
                                                                                            550
          Track the spatial location and orientation of the projected pattern of light
                          relative to the common coordinate system
                                                                                            560
        Wirelessly receive the processed surface point coordinates, associating each
            coordinate set with the spatial location and orientation of the pattern of
        light at the time the image associated with the surface point data was formed
                                                                                            570
         Transform the local coordinates of the 3-d surface points into corresponding
          coordinates in the common coordinate system based on the location and
                 orientation of the associated position of the pattern of light
                                                                                            580
       Accumulate the transformed surface point coordinates to form an approximation
          of the surface of the object. Optionally, display the points on a 2-discreen
                                                                                            590
          Move the pattern of light with respect to the object, and repeat the above
               beginning at step 510 until sufficient points are accumulated
                                                                                            595
      Optionally generate a tessellation of patches reresenting the surface of the object
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 9 of 19 PageID #: 35


U.S. Patent                 Feb. 26, 2008         Sheet 6 of 7                    US 7,336,375 B1




                                        Fig. 6                                                600
         Establish a common coordinate system related to an object to be scanned
                                                                                              610
       Project a known structured pattern of light onto an object, producing illuminated
            surface points on the intersection between the pattern and the object
                                                                                              620
             Form an image of the intersection of the pattern of light on the object
                                                                                              630
         Process the image to obtain a set of 2-d pixel coordinates of points on the
                                 image of the intersection
                                                                                              640
               Wirelessly transmit the processed pixel coordinates to a receiver
                                                                                              650
          Track the spatial location and orientation of the projected pattern of light
                         relative to the common coordinate system

             Wirelessly receive the processed pixel Coordinates, associating each
            coordinate set with the spatial location and orientation of the pattern of
        light at the time the image associated with the surface point data was formed
                                                                                              665
      Using known information about the 3-d relationship of the image to the pattern of
       light, convert the pixel coordinates to 3-d surface point coordinates relative to a
               local coordinate system defined with respect to the pattern of light
                                                                                              670
        Transform the local coordinates of the 3-d surface points into corresponding
         coordinates in the common coordinate system based on the location and
                orientation of the associated position of the pattern of light

      Accumulate the transformed surface point coordinates to form an approximation
         of the surface of the object. Optionally, display the points on a 2-discreen

        To Fig. 6 (cont.)                                                 To Fig. 6 (cont.)
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 10 of 19 PageID #: 36


U.S. Patent              Feb. 26, 2008         Sheet 7 Of 7                US 7,336,375 B1




        From Fig 6                                                          From Fig. 6


          Move the pattern of light with respect to the object, and repeat the above
               beginning at step 610 until sufficient points are accumulated

      Optionally generate a tessellation of patches reresenting the surface of the object


                                    Fig. 6 (cont.)
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 11 of 19 PageID #: 37


                                                    US 7,336,375 B1
                              1.                                                                 2
    WIRELESS METHODS AND SYSTEMIS FOR                              contour line from a position offset from the plane of light. In
     THREE-DIMIENSIONAL NON-CONTACT                                effect, the image of the contour line on each camera simul
              SHAPE SENSING                                        taneously captures the locations of many Surface points all
                                                                   on one plane through the object. This speeds the process of
    This application is a divisional of and claims the benefit 5 gathering many sample points, while the plane of light (and
of priority to U.S. patent application Ser. No. 11.538,753 usually also the receiving camera) is laterally moved so to
filed Oct. 4, 2006, the entire contents of which are hereby “paint some or all of the exterior surface of the object with
incorporated by reference.                                         the plane of light. By knowing the instantaneous position of
                                                                   the camera and the instantaneous position of the plane of
                FIELD OF THE INVENTION                          10 light within a object-relative coordinate system when the
                                                                   image was acquired, a computer and Software can use
    The present invention relates to methods and systems for triangulation methods to compute the coordinates of illumi
wireless, non-contact menSuration of the Surface shape of a nated Surface points. As the plane is moved to intersect
three-dimensional object or features thereof.                      eventually with some or all of the surface of the object, the
                                                                15 coordinates of more points are accumulated.
           BACKGROUND OF THE INVENTION                                A number of commercially available systems employ the
                                                                   technique of projecting a manually moveable plane of light
    Presently, computer graphics, 3D modeling of real-world and imaging the illuminated intersection of the light on the
objects in Software, and 3D mechanical design are in wide object. Examples include, the U.S. Pat. No. 4.737,032
spread use. Accordingly, it is desirable to capture an approxi (Cyberware, Inc., Monterey, Calif.), the FastSCAN (Polhe
mate computer Software model of an existing physical mus Inc., Colchester, Vt.), and K-Scan (Metris N. V., Leu
object. In many cases, it may suffice for the model to be a ven, Belgium).
"point cloud of surface points sampled from the physical              Other systems project more than one plane of light onto
object. In a more Sophisticated model, the points are vertices the object, or project even more complex patterns of struc
of abutting planar polygonal patches which approximate the 25 tured light. Examples are Metris's X-Scan product and U.S.
Surface of the object. In an even more Sophisticated model, Pat. No. 7,009,717 by Coppenole et al, which is incorpo
the patches are curved, each defined by a bivariate polyno rated herein by reference.
mial or rational mathematical function, as in the NURBS               Other systems project a pattern of light that is modulated
Surfaces commonly used in computer graphics. Special by sequentially increasing and decreasing the light line
cases of 3D data entry also rely on parametric entry, where 30 widths, sometimes using a Gray Code Sequence. One varia
the geometric shape (circle, sphere, cube, etc.) of the object tion of this moves the line pattern over the object, referred
is known and the parametric features are specified in order to as “phase shift encoding. Examples of these systems are
to be retained during scanning.                                    GFM Messtechnik, ABW-3D, both of Germany, Opton
    Numerous approaches exist which automate or partially (Japan), stereo SCAN by Breackmann and GOM of Ger
automate the process of sampling representative points from 35 many.
the Surface of an object. One approach generates a single             To date. Such non-contact scanners are tethered at least by
point at a time, as a contact probe tip is moved across the an electronic cable, if not by further mechanical linkage. For
Surface of the object. Traditional coordinate measuring example, see U.S. Pat. No. 6,611,617 of Crampton.
machines (CMMs) as well as handheld magnetic, mechani
cal, and optical probe tracking systems have historically 40                    SUMMARY OF THE INVENTION
used this contact probe approach. Computer-aided design
(CAD) software can be used to accumulate the measured                 The present invention is directed toward a method and a
points and to build therefrom a 3-dimensional model of the system for wireless three dimensional shape sensing and
surface of the object. An example of a handheld, optically mensuration.
tracked probe and its tracking system are the FlashPoint and 45 The method provides steps which generate a virtual
3D Creator products sold by Boulder Innovation Group, Inc. 3-dimensional model approximating the Surface geometry of
(Boulder, Colo.).                                                  the object. The system generates a virtual 3-dimensional
    Another approach might include various laser or optical model approximating the Surface geometry of an object.
beam non-contact probes, which operate similar to the                 The method projects a pattern of structured light on the
contact probe approach. However, the “probe tip' is a 50 Surface of the object, acquires images of the intersection of
narrow light beam together with an optical sensor, which the light with the object's Surface, and processes each image
accurately measures the length of the ray-like beam to where to generate an intermediate set of Surface data characterizing
it intersects the object at a point. That distance together with the intersection relative to the position of the pattern of light
knowledge of the exact position of the light beam allows at the moment the image was acquired. The process tracks
computation of the 3-dimensional XYZ coordinates of the 55 the position of the pattern of light with respect to the object
point where the beam intersects the surface of the object. By over time. The surface data is wirelessly transmitted to a
gathering Sufficiently dense points from the object, Software receiver which is connected to a computer which correlates
can create a suitable model of the surface of the object. To each surface point datum with the temporally corresponding
date, such non-contact probes are tethered at least by an position of the pattern of light, transforms the Surface point
electronic cable, if not by additional mechanical linkage. 60 data into coordinates of points with respect to an object
    Rather than a single ray-like laser beam, more advanced coordinate system. The transformed points are the basis of a
non-contact Scanners project a planar “fan of light to virtual 3-dimensional model of the object.
illuminate many points on the object, where the intersection          The system uses a 3-dimensional (3D) object coordinate
of the light and the object forms an illuminated stripe or system in a fixed or otherwise known relationship to the
contour line on the object. These scanners are sometimes 65 object, and the system uses a non-contact scanner. The
called “laser Stripe triangulation scanners. One or more non-contact scanner employs a source of a pattern of struc
Video cameras acquire a 2D dimensional image of the tured light, an electro-optical imager, an image processor, a
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 12 of 19 PageID #: 38


                                                   US 7,336,375 B1
                                3                                                               4
wireless data transmitter, and a scanner position indicator.      science, the location of the body may be represented as the
The non-contact Scanner projects the structured light pattern spatial XYZ coordinates of a specified reference point or
onto the object. The light reflected from the illuminated marker on the body with respect to a defined Cartesian
intersection of the light pattern with the object at a particular coordinate system. Further, the orientation of a body may be
moment is imaged by the electro-optical imager. The image 5 represented by yaw, pitch, and roll angles with respect to a
processor generates Surface point data which characterize defined reference orientation, by a quaternion, or by a
the locations of points on the intersection relative to the conventional 3-by-3 rotation matrix. As is also common
scanner position indicator. The wireless transmitter trans practice, the position may alternatively be represented by a
mits the image and/or Surface point data wirelessly to a data single 4-by-4 homogeneous coordinate transformation
receiver.                                                       10   matrix.
   The system also uses a scanner tracking Subsystem which           As used herein, the terms “about or “approximately' for
essentially continuously determines the 3D position (loca         any numerical values or ranges indicate Suitable dimensional
tion and orientation) of the scanner position indicator, over     tolerances that allow the part or collection of components to
time and with respect to the object. A computing module is        function for their intended purposes as described herein.
in wired or wireless communication with the data receiver 15         With reference to FIG. 1, the system 1 is used in con
and to the scanner tracking Subsystem. The computing junction with a physical object 38 (not properly part of the
module correlates each received surface point datum tem system itself) with a surface 40 which at least partially
porally with the position of the scanner position indicator at reflects light.
the time the intersection containing the Surface point was           Wireless, non-contact scanner 12 projects a pattern of
imaged, transforms the received Surface point data accord structured light 42, which is depicted in FIG. 1 as a single
ing to the correlated Scanner positions, and generates a set of planar “fan of light. In alternative embodiments, the pattern
3D surface point coordinates which are relative to the object may simply be one or several narrow rays of light, may be
coordinate system. The set of Surface points are used to multiple planes of light, or may be a more geometrically
model approximately the objects Surface.                          complex pattern of light.
   The method and the system assume that the position of the 25 In the embodiment where the pattern is simply a single,
pattern of light and the position of the object are not static narrow ray-like beam, the beam is, for example,
necessarily fixed with respect to each other. Further, the generated by a laser diode and a collating lens. The single,
method and the system assume that over time the pattern of narrow ray-like beam intersects the object 38 as a single tiny
light and the object move relative to each other to illuminate spot of light at a specific Surface point at a specific moment
eventually a sufficient number of points on the surface of the 30 of time. Alternatively, a pattern may be generated by rapidly
object. The relative motion may be effected manually or Sweeping a ray of light within a plane or through a more
automatically.                                                    complex volumetric pattern, which pattern may at least
                                                                  partially intersect with the object. The ray may sweep
       BRIEF DESCRIPTION OF THE DRAWINGS                          through the whole pattern during a brief period of time (such
                                                               35 as a fraction of a second).
   The accompanying drawings, which are incorporated                 In alternative embodiments, the pattern of structured light
herein and constitute part of this specification, illustrate is generated by projecting coherent light through a hologram
presently preferred embodiments of the invention, and, or a diffraction grating to generate a planar “fan' of light, a
together with the general description given above and the Moiré fringe pattern, or a more complex set of multiple rays,
detailed description given below, serve to explain features of 40 planes, or curved Surfaces in 3D space. Alternatively, the
the invention.                                                    structured light can be generated by an optical projector Such
   FIG. 1 is a block diagram of an embodiment of the present as a slide projector or digital video projector. In the case of
invention.                                                        a digital video projector, the geometry of the pattern of
   FIG. 2 is a perspective illustration of an embodiment of a structured light may be dynamically varied so that different
handheld wireless Scanner and an object being scanned. 45 patterns are projected over time. In each of the embodi
   FIG. 3 is an example of a video image of the intersection ments, the pattern of structured light may be automatically
of a plane of light with an object together with an expanded moved across portions of the object without having to move
close-up view of 16 pixels from the video frame (raster), the scanner itself. For the simple planar pattern of light 42
Some pixels of which contain a part of the image of the depicted in FIG. 1, the intersection 36 with the object 38 is
intersection.                                                  50 an illuminated contour line 36 on the surface 40 of the object
   FIG. 4 gives several examples of wireless data formats.        38. The video image of a contour line may require less image
   FIG. 5 depicts a flow diagram of the steps of an embodi processing than the intersection 36 of a more complex
ment of the method.                                               structured light pattern 42 on the object 38 will require.
   FIG. 6 depicts a flow diagram of the steps of another             Examples of systems projecting structured light include
embodiment of the method.                                      55 systems sold by GOM GmbH (Braunschweig, Germany)
                                                                  and GFMesstechnik GmbH (Berlin, Germany). In these
            DETAILED DESCRIPTION OF THE                           systems the scanner is not hand-held, is placed at a fixed
               PREFERRED EMBODIMENTS                              position, or is moved mechanically.
                                                                     At least one optical imaging sensor 16 or 18, Such as a
   Various embodiments of the present invention will be 60 Video camera housed in Scanner 12, captures the intersection
described in detail with reference to the accompanying 36 of the pattern of light 42 with the object 38 as a 2D video
drawings. Wherever possible, the same reference numbers image. The video image data may be processed further to
will be used throughout the drawings to refer to the same or compress the data or to exclude extraneous image data that
like parts.                                                       is not part of the video image of the intersection 36. The
   Note that herein the position of some (rigid) physical 65 image processing may be implemented using an on-board
body means both its 3-dimensional location and its 3-di digital microprocessor (not shown). The image of the illu
mensional orientation. As is common practice in computer minated intersection 36 characterizes a portion of the surface
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 13 of 19 PageID #: 39


                                                   US 7,336,375 B1
                                5                                                                6
shape 40 of the object 38. If the pattern of light 42 is a plane, compute the 3D location of the intersection 36 with respect
then the intersection 36 is equivalent to a contour line (that to a local coordinate system relative to Scanner 12. As the
is, a cross-section of a portion of the Surface).                 beam is moved to illuminate eventually all or part of the
   Unless specified otherwise, the following descriptions of surface 40 of object 38, a large collection of surface points
embodiments will assume that the pattern of structured light 5 may be sampled.
may be composed of one or more rays, planes, or curved               More than one lens and sensor 16 or 18 may be used to
sheets of light. Then the image of an intersection 36 in a image the intersection point 36 of the beam 42 from several
camera 16 or 18 normally will be composed of illuminated angles. This may particularly be advantageous when the
points, lines, or curves, not large illuminated areas.            intersection 36 lies within a depression or beyond a step-like
   In an embodiment, the image processing may discard 10 discontinuity, so that the intersection can be seen from at
some or all of the video pixels which are not part of the least one angle, if not all angles. In another embodiment,
image of the illuminated intersection 36. For example, the there may be several displacement sensors (each with their
image processor may simply discard all video information own ray-like beam of light) used to measure more than one
after determining the 2D numerical coordinates for one or Surface point simultaneously. In that case, the structured
more points in the image of the intersection 36. The coor 15 pattern 42 comprises several ray-like beams of light, possi
dinates of any such point in the image of the intersection 36 bly each with a different color to help distinguish them.
will be relative to the position of the scanner 12 and the           Embodiments projecting any particular pattern of struc
pattern of light 42 at the instant in time the image was tured light 42 (simple or complex) may use more than one
acquired. Integer coordinates may simply identify one or video camera 16 or 18 to view the intersection 36. This may
more video pixels which the optical real image of the advantageously provide redundant data for more accuracy or
intersection 36 illuminates. An embodiment may use inter may allow at least one camera to image Surface points which
polation between pixels to arrive at fixed or floating-point are not visible to another camera because of extremes in
coordinates for a Subpixel location which may coincide with Surface topography.
the centerline of the image of the intersection 36. For              The data generated by scanner 12 may include the whole,
example, Suppose a small portion of the image is roughly 25 raw video frame acquired by any imaging sensor 16, 18. The
linear but illuminates two or more adjacent pixels which are data may include a compressed or further processed form of
oriented roughly perpendicularly across that portion of the a raw video frame. The data may include the computed pixel
image. Then the intensity-weighted average (centroid) of the or subpixel coordinates of various points on the image of the
pixels' coordinates may represent a 2D Subpixel location on intersection 36 formed on each imaging sensor 16, 18. The
the centerline of the portion. The location can be represented 30 data may include the computed 3-dimensional coordinates
by fixed point or floating point numerical coordinates, which of various surface points of the intersection 36 derived from
express finer resolution than integral pixel coordinates can. the subpixel coordinates of its image, where the 3D coor
For this reason, it may be desirable for the image of the dinates are relative to a local scanner coordinate system 10
intersection 36 to be more than one pixel wide in general. in known relationship to scanner 12 and to structured pattern
This may be accomplished by slightly blurring the image 35 42. Regardless of its form, the data directly or indirectly
(intentionally) or by ensuring that the intersection 36 on the characterizes a portion of the geometry of object 38 as a
object 38 is not too narrow.                                      subset of points on surface 40 relative to the scanner
   An embodiment may further transform the 2D subpixel coordinate system 10. In one embodiment, several of the
coordinates of such a point on the image into 3D coordinates above computations are performed in a microprocessor
relative to a local Cartesian coordinate system defined with 40 within scanner 12. In alternative embodiments, all or some
respect to the scanner 12 and/or the pattern of light 42. This of these computations are deferred to be performed by
transformation may be performed in a microprocessor separate computer 70.
within scanner 12, or within a separate computer 70. The             The geometric data, in one or more of the above forms, is
mathematics of Such transformations is well known, espe transmitted wirelessly via data transmitter 26. The medium
cially in the field of photogrammetry. See e.g., Manual of 45 of transmission 28 may be one or more of the following:
Photogrammetry, Fourth Edition, American Society of Pho modulated radio frequency signals, modulated infrared sig
togrammetry, Falls Church, Va. More generally, the 2D and nals, or modulated signals of some other wavelength. The
3D coordinates and transformations are well known and             transmission medium 28 may utilize a proprietary protocol
described in books on analytic geometry and 3D computer or an industry standard such as IEEE 801.11 WiFi, Blue
graphics Such as Computer Graphics. Principles and Prac 50 tooth, IRDA, or any other current or future standard.
tice, by Foley et al (Addison-Wesley, Reading, Mass.).              U.S. Pat. No. 6,608,688, which is incorporated herein by
   In the case where the structured light pattern 42 is simply reference, presents a tracking system which tracks wireless
a single ray-like beam, a lens and a 1-dimensional CCD (or instruments such as probes. That patent describes one or
PSD or the equivalent) may suffice as the imaging sensor 16. more moveable trackable instruments each with position
A commercially available example of a combination diode 55 indicators, which are tracked in a coordinate space, and to
laser beam, lens, and 1-dimensional PSD is the MX1C               transmit and receive various data wirelessly. In particular,
(IDEC Corp., Sunnyvale, Calif.) displacement sensor. This the patent discloses techniques for synchronizing the track
displacement sensor generates an analog output current ing of multiple wireless instruments and for multiplexing the
corresponding to the coordinates of the image of the inter wireless communication with those multiple instruments.
section spot 36 on the MX1C. That is, the MX1C generates 60 The geometric data sent by data transmitter 26 may be
an output current corresponding to the distance to where the augmented by brightness or color data from the image of
beam intersects an object within its range. The amount of each sensor 16, 18, so that the surface model 80 of the object
current may be digitized using an analog-to digital converter 38 can include color or texture data in addition to geometri
(ADC) and converted to a numerical distance value using a cal shape data. To capture color data most accurately, an
calibration table. Together with the known location and 65 embodiment may utilize a color camera and a structured
orientation of the source of the beam 42 with respect to the pattern of white light or a pattern which includes a variety
scanner 12, a microprocessor may use the distance to of wavelengths.
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 14 of 19 PageID #: 40


                                                   US 7,336,375 B1
                              7                                                                 8
   The data transmitter 26 generally must transmit a Sub          details about the pattern of structured light 42, the position
stantial amount of information possibly as much as a              indicator or indicators 20, 22, 24, the number of sensors 16,
stream of video image pixels and/or many image subpixel          18, the serial number, and so forth may be stored on-board
coordinates and/or 3D surface point coordinates. Therefore,      on Scanner 12. The details in memory may be transmitted
a relatively high speed communication protocol may be            upon start-up, transmitted from time to time by data trans
required. Such as megabits per second. This does depend on       mitter 26, or used internally by a microprocessor in Scanner
the rate at which image pixels are acquired or at which          12. The details may include location or orientation coordi
Surface coordinates are computed. That is, the communica         nates, data formats, or other description.
tion protocol rate may be dictated by the particular form and       Scanner tracking Subsystem 60 tracks and computes the
amount of data transmitted, or vice versa.                    10 location and orientation of at least one position indicator 20,
   A 2-dimensional frame of image pixels can be transmitted 22, or 24 on scanner 12 with respect to an object 3-dimen
as a stream of many bytes (for monochrome) or many byte sional coordinate system 5. Given the location and/or ori
triplets (for color). The protocol may use Some proprietary entation of sufficient position indicators 20, 22, or 24, the
or standardized raw or compressed format, such as JPEG. If position of the scanner 12 may be determined—as is com
an embodiment transmits the pixel or Subpixel coordinates 15 monly done by optical tracking systems like the FlashPoint.
of points on the image of the intersection 36, and if at least Given a local coordinate system 10 on scanner 12 and the
10 video frames are acquired per second, at least hundreds locations (and orientations if relevant) of the position indi
of pixel coordinates may need to be transmitted per second. cators in it, there is a linear transformation T between the
Each pixel coordinate may comprise several bytes, so a scanner coordinate system 10 and the object coordinate
minimum communication rate of megabits per second may system 5 at a given instant in time. It is noted that transfor
be necessary. Such a transmission rate may apply also to an mation T will change dynamically as Scanner 12 is moved
embodiment in which the pixel coordinates are first trans and may be recomputed continuously. T may be imple
formed into 3D surface point coordinates relative to the mented by a homogeneous matrix as is common in computer
scanner 12 by a microprocessor within scanner 12. Other graphics. T can be used to transform the Surface coordinates
slower wireless protocols such as Bluetooth, ZigBee, or 25 relative to scanner coordinate system 10 into coordinates
IRDA may be used in embodiments where the pattern of relative to coordinate system 5. Coordinate system 5 may
structured light is a single ray of light and only a few actually be the de facto or built-in coordinate system of
coordinates are to be transmitted per second.
   At lease one trackable position indicator 20, 22, or 24 is subsystem 60 or may be explicitly defined by the user during
attached to, is part of, or is in fixed or otherwise known 30 a separate initialization step.
relationship to handheld scanner 12. The trackable position         In an embodiment using tiny or point-like position indi
indicator may be represented by a point on a high contrast cators 20, 22, 24 (such as marked by LEDs or retro-reflective
geometrical pattern. Alternatively, a position indicator 20,     spheres or dots or prisms), at least three non-collinear
22, or 24 may be (the center of) a retro-reflective marker position indicators must be located. The locations of non
(such as a small disk or ball) and may be illuminated by an 35 collinear position indicators unambiguously specify the
external light source (not shown in FIG. 1). A position location and orientation (that is, the 3D position) of the
indicator 20, 22, or 24 may also be an actively illuminated scanner 12. Because the pattern of light 42 is in a known
point-like Source of light, such as a light emitting diode relationship to the scanner 12, the location and orientation of
(LED). For example, a position indicator 20, 22, or 24 may the pattern of light 42 may also be determined. For example,
be the emitting end of an optical fiber which is illuminated 40 a local coordinate system 10 may conveniently be defined on
by a light source at the other end of the fiber. For position scanner 12, and the location and orientation of the pattern of
indicators 20, 22, or 24 which are small or point-like, more light 42 and position indicators 20, 22, 24 may be defined by
than one will be required in order to ascertain accurately the means of 3D coordinates with respect to the local scanner
3-dimensional orientation of the scanner 12 and therefore        coordinate system 10.
the orientation of the pattern of projected light 42. In such 45 FIG. 1 depicts a scanner tracking subsystem 60 with three
an embodiment, at least three non-collinear position indica sensors 64, although a tracking Subsystem 60 may employ
tors 20, 22, or 24 (preferably separated as widely as prac fewer or more sensors 64. An embodiment may employ as
tical) may be located on the Scanner 12.                         the scanner tracking Subsystem 60, for example, the Flash
   A source of energy (not shown in FIG. 1). Such as a Point system of Boulder Innovation Group, Inc. (Boulder,
battery, Supplies power to one or more components of the 50 Colo.), which employs three 1-dimensional CCD sensors.
scanner 12. Components requiring energy may include the Another example of an optical tracking system is the Polaris
Source of structured light 42, the optical imaging sensor, any sold by Northern Digital, Inc. (Waterloo, Ontario, Canada),
image processor present, any powered position indicators, which employs two 2-dimensional imaging sensors. An
any microprocessor for coordinate computation, the data embodiment may use any 3D tracking system for Subsystem
transmitter 26, and any other associated electronics. In an 55 60—even one which is non-optical, Such as a magnetic
embodiment, a battery may be rechargeable, may be per tracking system. Any 3D tracking system may be used, as
manently housed in scanner 12, and may be recharged long as the location and orientation of the pattern of light 42
through an external connector built into Scanner 12. In other may be determined in real time sufficiently accurately for the
embodiments, the Source of energy may comprise any one or system to acquire a satisfactory approximation of the Surface
more of the following: a battery, an electromagnetic energy 60 geometry of a 3-dimensional object.
receiver-converter, a Solar cell, a storage capacitor, a fuel       The embodiment of FIG. 1 shows the pattern of light 42
cell, and any future energy source or energy storage tech being projected from scanner 12 and the intersection 36 of
nology.                                                          that pattern with the object 38 being imaged by at least one
   The Scanner 12 may include memory accessible from a imager 16 and/or 18 also located in the same Scanner 12.
built-in microprocessor so that calibration data, identifica 65 However, the pattern of light 42 need not necessarily be
tion, and other descriptive information characterizing the fixed with respect to an imager 16 or 18, if the structured
scanner 12 may be available. For example, the geometric pattern 42 is tracked by tracking subsystem 60 with respect
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 15 of 19 PageID #: 41


                                                    US 7,336,375 B1
                                9                                                                10
to coordinate system 5, and if each imager 16 or 18 is also or over wires to a graphics workstation or other computer.
tracked by tracking subsystem 60 with respect to coordinate The format of the saved 3D geometrical model may be
system 5. In effect, scanner 12 may be split into two or more custom, proprietary, or an industrial CAD standard.
parts, each of which may be tracked independently, and each           In an embodiment, the object coordinate system 5 may be
of which comprises sufficient position indicators 20, 22, 24 5 static with respect to the tracking subsystem 60, in which
to allow tracking subsystem 60 to determine the position of case the object 38 should not move with respect to tracking
each part. One part includes the means of projecting the Subsystem 60 during the scanning process. In another
structured light 42. Another part includes the sensor for embodiment, the coordinate system 5 may dynamically
imaging the intersection 36 of that light with the object 38 move with respect to the tracking Subsystem as long as the
and would include the data transmitter 26. Because each part 10 coordinate system 5 remains fixed (or is in an otherwise
may be separately moved, the position of each part may be known relationship) with respect to object 38 during the
described by its own 3D transformation matrix which scanning process and the tracking system also tracks the
describes the location and orientation of the corresponding position of the coordinate system 5 relative to itself. In the
part with respect to object coordinate system 5. The trans latter case, the coordinate system may be defined by one or
formation matrix for the pattern of light 42 can be used to 15 more reference position indicators—similar to the indicators
transform points, rays, or planes of the structured light 20, 22, 24 on the scanner 12 for example—which are located
pattern at a given moment of time into the object coordinate fixedly with respect the object 38. The reference position
system 5. The transformation matrix for an imager 16 or 18 indicators may possibly be mounted on a rigid reference
can be used to transform the image-forming ray correspond body affixed to object 38. A technique to provide a coordi
ing to a point in the image into the object coordinate system nate system 5 which may dynamically move in fixed rela
5.                                                                 tionship with object 38 during scanning (but not necessarily
   For simplicity and clarity, the specification assumes that remain in fixed relationship to subsystem 60) is presented in
the pattern of structured light 42 is fixed with respect to each U.S. Pat. No. 5,920,395, which is incorporated herein by
imaging sensor 16 or 18. However, the methods and systems reference.
described herein can operate with the use of the split scanner 25 Although FIG. 1 illustrates only one wireless scanner 12,
as well.                                                           more than one wireless scanner 12 may be present in the
   The computer 70 collects the data received by data volume in which tracking subsystem 60 operates. Further
receiver 72 and collects the 3D scanner positions of scanner more, other moveable tracked instruments may need to be
12 from tracking subsystem 60. Computer 70 temporally tracked in the Volume, Such as contact probes or a rigid
correlates the received data from receiver 72 with the 30 reference frame defining a coordinate system 5. Each instru
scanner position data so that the received data for a given ment has its own positional indicator or indicators and may
image of an intersection 36 is associated with the position of be wireless also. Alternatively, both wireless and wired
the scanner at the time the image of the intersection 36 was scanners may be used in the Volume in which tracking
acquired. A timestamp from an internal millisecond clock Subsystem 60 operates. As above, each instrument has its
may be associated with each datum received by receiver 72 35 own positional indicator or indicators regardless of whether
and with each collected Scanner position measurement. The the scanner is wired or wireless.
data received from receiver 72 and the collected scanner              FIG. 2 is a perspective drawing of an embodiment of
position measurements are associated by matching data and scanner 12. As shown, the scanner 12 includes a source 41
measurements acquired at essentially the same time. This of pattern of structured light 42. The pattern 42 as shown in
allows the computer 70 to transform the coordinates in the 40 the figure is simply a single ray-like beam of light directed
coordinate data received by receiver 72 to 3D coordinates in toward object 38 with surface 40 and intersects surface 40 at
the object coordinate system 5.                                    intersection point 36. Nevertheless, a variety of patterns may
   The computer 70 accumulates coordinates of points on be employed. FIG. 1 shows two imaging sensors 16 and 18.
some or all of the surface 40. These coordinates were              As previously noted fewer or more imaging sensors may be
previously transformed to be relative to the object coordi 45 present. Lines 43 depict rays of light reflected from inter
nate system 5. The accumulation of the object-relative section 36 back to the imaging sensors 16, 18 to form an
coordinates forms a point cloud, which at least partially image of the Surface point 36 in each imaging sensor 16, 18.
models the surface geometry 40 of object 38. The computer Structured light pattern 42 may emerge from Scanner 12 at
70 may further model the surface 40 by using the point cloud a fixed angle or Scanner 12 may automatically Sweep light
to construct a tessellation of abutting 3D patches to form a 50 pattern 42 through some trajectory.
3D surface approximating the surface 40 of object 38. The             Data transmitter 26, depicted as an antenna, repeatedly
patches may simply be planar polygons such as triangles or transmits data characterizing the location of an intersection
quadrilaterals. The patches may be curved surfaces, the point 36 relative to the scanner 12, as scanner 12 is moved,
shapes of which may each be described by a parameterized,          so that the pattern of structured light is moved over at least
multivariate function Such as a polynomial, rational poly 55 a portion of the surface 40 of object 38. In addition to the
nomial, or other function, as is commonly used in computer locations of intersection points 36 on surface 40, transmitter
graphics. Curved patches may allow a more accurate rep 26 may also transmit data characterizing the coloration or
resentation of the geometry 40. Alternatively, curved patches texture of surface 40. For example, transmitter 26 may
may allow for a more compact surface model with fewer transmit raw monochrome or color intensities taken from the
patches.                                                        60 pixels of sensors 16 or 18.
   An embodiment may display the accumulated points or                Data transmitter 26 may forego retransmission of essen
patches on a graphics Screen 76—either during the scanning tially redundant data, if the scanner 12 does not move with
process to give user feedback or at least after the scanning respect to the object 38 after an image is first acquired.
process is complete. Some or all of the accumulated points            Transmitter 26 may be part of a transceiver, which also
or patches of the model can be saved to permanent storage 65 receives configuration parameters, operational commands,
78 such as a disk drive, CD-ROM, flash memory, or the like. or other input signals. Such parameters, commands, or
The points or patches may be further transmitted wirelessly signals control the operation of scanner 12. Configuration
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 16 of 19 PageID #: 42


                                                   US 7,336,375 B1
                              11                                                              12
parameters, for example, dictate the rate, format, or kind of 401 requires far fewer bits than for transmitting the cameras
information to be transmitted. Operational commands, for Video frame (raster) in a more normal fashion. Because most
example, dynamically alter the size, shape, color, or inten Video cameras contain fewer than several thousand pixels
sity of the structured light 42.                                 per column, only the most significant 12 bits (for example)
   Handle 44 in FIG. 2 is optional, but may be convenient for may be required for representing (vertical) integral pixel Y
handheld operation of the scanner 12. If handle 44 is present, coordinates. Thus the least significant 4 bits can be used to
it may be a convenient structure in which to place a represent fractions of an interpolated vertical Subpixel coor
rechargeable energy source Such as a battery.                    dinate as a 16-bit fixed-point binary value with 4 bits to the
   Scanner 12 comprises one or more position indicators 20, right of the binary point.
22, 24, Sufficient in number to allow a scanner tracking 10 Data record format 403 of FIG. 4 may be used to transmit
subsystem (as described above) to determine the location video camera frame data compactly. Format 403 is more
and orientation of scanner 12 accurately and unambiguously. general than format 401 and may be used to transmit more
Three tiny or point-like optically-tracked, non-collinear general image geometries than that exemplified in FIG. 3.
indicators 20, 22, 24 are show in FIG. 2. Three non-collinear    For record format 403, some or all of the pixels which
indicators are normally needed in order for a scanner track 15 contain the image of the intersection may be transmitted. In
ing subsystem (60 in FIG. 1) to determine the 3-dimensional this case, the X, and Y, coordinates would both be interpo
location and the 3-dimentional orientation of the scanner 12.    lated values, representing a local centroid of a tiny piece of
An exception, for example, is the case in which a ray-like the image, such as a 5-by-5 pixel “window” straddling a part
beam 42 can be collinear with just two or more position of the image.
indicators 20 and 24 collinear with the ray.                        Data record format 404 of FIG. 4 is similar to format 403,
   FIG. 3 is an example of a video image 92 of the inter except that it also includes red-green-blue (RGB) color
section of a plane of light with an object together with an intensities corresponding to each X, and Y, location in the
expanded close-up view of 16 pixels 94 from the video image. The RGB color values may themselves be interpo
frame 90, some pixels of which contain a part of the image lated or may be copied from the pixel in which the location
92 of the intersection. The camera is located outside the 25 (X,Y) is located. For monochrome scanners, a single 8-bit
plane of the light and is oriented so that the pixel rows of its field can replace the three 8-bit R, G, and B fields.
video frame 90 are approximately parallel to the plane of           Data record format 407 of FIG. 4 is an example of how
light (structured pattern). Then the image 92 (shown as 3D coordinates may be transmitted. This embodiment
black) of the intersection generally extends left to right assumes that a microprocessor within scanner 12 (of FIG. 1
across the frame 90. Because the image illuminates more 30 or FIG. 2) transforms subpixel coordinates of given points
than one pixel within each column of pixels, interpolation on the 2D image into 3D XYZ coordinates of surface points
may be possible using a weighted average (centroid) com of the object. The 3D XYZ coordinates would be relative to
putation. This would yield a subpixel location in which each the local coordinate system 10 of the moveable scanner 12
(vertical and horizontal) coordinate may be represented by a and of its pattern of structured light 42. An advantage of Such
finer resolution fixed-point or floating-point number rather 35 an embodiment is that computer 70 (of FIG. 1) may not need
than just integral row and column coordinates.                   to know any details about Scanner 12, Such as the geometry
   FIG. 4 lists several examples of potential data record of its structured light pattern, the number of cameras, and the
formats (as bit sequences), which may be used to transmit type and resolution of the cameras. That is, the scanner may
data from transmitter 26 to receiver 72. The numbers in          be somewhat of a “black box” with regard to such details.
parenthesis in each field indicate the number of bits that may 40 Data record format 409 of FIG. 4 is similar to format 407,
be needed to represent the field's value as a binary integer, except that RGB color data about each corresponding XYZ
a fixed-point binary value, or a floating point number. In all point is also included.
examples, the “scanner ident.” field may be a serial number         Using the example formats of FIG. 4 and the processing
uniquely identifying the scanner transmitting the data. The performed in wireless scanner 12 (of FIG. 1) can signifi
“scanner ident.” may identify known properties or calibra 45 cantly reduce the amount of transmitted geometric and color
tion information specific to a particular scanner and stored in data compared to the data conventionally sent by a video
a database in computer 70 (of FIG. 1). The “checksum may camera over a cable. Processing the image data within a
be a 32-bit value which may simply be the 32-bit sum of all “Smart’ scanner 12 also can distribute the processing among
the preceding fields, for example, and used to Verify trans several computers and can allow the Scanner 12 to be more
mission integrity. In an embodiment, other fields may be 50 device-independent. Many variations of tracked scanners
present, such as a prefix bit pattern to help identify the may be truly interchangeable if certain conventions are
beginning of a record format or a field which contains a uniformly followed. Namely, all variations of tracked scan
scanner status/error code.                                       ners 12 must transmit data according to the same data record
   Data record format 401 of FIG. 4 may be used to transmit format (such as 409). In addition, all interchangeable varia
Video camera frame data compactly, such as the image 55 tions of tracked scanners must define Scanner coordinate
depicted in FIG. 3. Format 401 assumes that the intersection systems which relate in the same way to how their positions
is a contour line on the surface of the object and that the are tracked and reported by the scanner tracking system (60
camera is oriented so that the contour line forms an image of FIG. 1). For example, the reported location of each
on the camera's frame which extends roughly left to right in scanner can be arranged to be the origin of its scanner
the frame. Then for each column of pixels, the image crosses 60 coordinate system 10. Also, for any given scanner orienta
the column at most in one place and occupies one or more tion reported by the tracking system, the scanner coordinate
adjacent pixels (if any at all) of the column. If the image axes of every interchangeable scanner should point the same
occupies more than one pixel for a given column c, then direction with respect to the object coordinate system 5.
interpolation may be used to compute a subpixel location for        An embodiment method for acquiring an approximation
the vertical center Y of the image in column c. If no pixel 65 of the Surface geometry of a 3-dimensional object, without
of column c is illuminated by the image, then Y may be set needing to contact the object physically, comprises steps
to some exceptional value (Such as Zero). Note that format listed in FIG. 5. Step 500 of FIG. 5 defines an object (or
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 17 of 19 PageID #: 43


                                                   US 7,336,375 B1
                               13                                                               14
global) coordinate system 5 in which the object to be the local (scanner) coordinate system mentioned in step 530
scanned resides. Coordinate system 5 may be the de facto so that the directions of each of the X, Y, and Z axes of the
coordinate system of a scanner tracking system as described local coordinate system are parallel to the directions of the
above. The coordinate system 5 may be a static user-defined corresponding axes of the object (global) coordinate system
coordinate system, in which the object may not be moved 5 when the scanner is in the reference orientation (that is, the
during scanning. The coordinate system 5 may be dynamic orientation matrix is the identity matrix).
with respect to the tracking system but in a fixed relationship      Step 560 wirelessly receives the processed surface point
to the object as the object or scanner moves during scanning. coordinates transmitted in step 540, associating each coor
For example, the coordinate system 5 may be defined with dinate set with the spatial location and orientation of the
respect to (the position indicator or indicators of) a second 10 pattern of light at the time the image associated with the
ary, reference object (not shown) affixed to the scanned Surface point data was formed. An embodiment may be so
object.                                                           configured that this naturally happens, because the timing of
   Step 510 projects a known pattern of structured light onto steps 510 through 540 is effectively contemporaneous with
an object, producing illuminated Surface points on the inter step 550. An embodiment may associate coordinate sets with
section between the pattern and the object. The structured 15 scanner positions by assigning to each a timestamp from a
pattern may be as simple as a ray-like laser beam, a thin common clock (or synchronized clocks) and performing the
plane of light, a complex pattern generated by coherent light associations by matching together coordinate sets and scan
through a hologram, or any other pattern, as previously ner positions which both have a common timestamp.
discussed. Step 510 is the first of several repeated steps, the      In an embodiment the times of capturing images in a
last of which is step 590.                                        scanner and the times at which the scanner position is
   Step 520 forms an image of the intersection of the pattern determined may be asynchronous or at least may not closely
of light on the object. This step may use one or more video match. In such an embodiment, the position of the Scanner
cameras, positioned in Some known relationship to the for a specific time (such as the time an image was captured)
pattern, as described previously. In the simple embodiment may be interpolated from two or more known positions of
projecting a ray-like beam of light, the image may be formed 25 the scanner which are at times very close to the time of the
on a 1-dimensional sensor. In a general embodiment, the image capture. For example, Suppose the scanner position is
image of each camera would be 2-dimensional.                      known at two times to and t which fall on each side of the
   Step 530 processes points in the image of the intersection time t, at which the image was acquired. Then linear
to obtain a set of 3D coordinates of corresponding Surface interpolation may applied individually to each scanner posi
points on the intersection, where the 3D coordinates are 30 tion coordinate. Such as Xo, at to and X at t, so that the
relative to the pattern of light. Standard practice may con estimated value of X at time t is
veniently establish a local scanner 3D coordinate system 10
relative to which the pattern of light may be described as
vectors, planes, curved Surfaces, and so forth according to and so forth for the other location and orientation coordi
normal 3D analytic geometry. Similarly, the relationship of 35
an image point to the intersection point which produces the nates. For greater accuracy, four times at which the Scanner
image point may be described according to the scanner be          position in known (two times on either side of time t) may
coordinate system 10. This involves the straightforward               used for cubic interpolation.
application of 3D analytic geometry, where the locations of          Step 570 transforms each surface point relative to the
the image plane pixels and the effective center of camera 40 projected pattern (that is, expressed in coordinates relative to
lens (treated as a pin-hole camera) are at known scanner the Scanner coordinate system) into corresponding coordi
coordinates. An intersection point on the Surface of the nates in the object coordinate system. This may be accom
object lies at the 3D intersection of the pattern and the line plished by applying a transformation matrix T to each of the
passing through an image plane Subpixel location and scanner coordinates to produce coordinates relative to the
                                                                  object coordinate system, according to common practice in
through the effective center of the lens. For example, if the 45 the
structured light pattern is a plane, the plane and the line            art. The transformation matrix T varies as the scanner
through the image Subpixel and lens intersect at a 3D point, moves, and may be directly derived from the location and
which lies on the illuminated part of the object.                 orientation of the associated position of the pattern of light
   Step 540 wirelessly transmits the intersection point coor (that is, essentially the position of the Scanner). The trans
dinates generated in step 530, which are coordinates of 50 formation matrix T may be the matrix product of a transla
Surface points. The wireless medium may be any of those tion transformation matrix (directly based on the location of
examples listed earlier or any other suitable wireless the scanner) and a rotation transformation matrix (directly
medium. The data format may be any of those examples based on the orientation of the scanner).
described earlier or any other suitable format.                      As the pattern of structured light is moved across the
   Step 550 tracks the spatial location and orientation (posi 55 surface of the object, step 580 accumulates the transformed
tion) of the projected pattern of light in the object coordinate surface point coordinates to form a “point cloud'. These
system 5. In practice, a Scanner tracking system will track points may approximate at least a portion of the Surface of
the spatial location and orientation of the source of light, the the object. An embodiment may display the points on a 2D
scanner containing the Source, and specifically one or more screen either while the object is being scanned or after all the
position indicators affixed to the scanner. Note that step 550 60 Surface points are accumulated. An embodiment may dis
may be executed in parallel with any or all of steps 510 card obviously erroneous “outlier points, which in a prac
through 540.                                                      tical system may be generated, for example, by noise in the
   It may be most convenient to define the scanner coordi Video camera or in the scanner electronics, by reflection
nate system mentioned in step 530 so that the origin of the artifacts, or by too rapid motion of the Scanner.
scanner coordinate system 10 coincides with the location of 65 Step 590 directs the pattern of light to be moved with
the Scanner which the Scanner tracking system reports as the respect to the object, so that a new set of points on the
location of the scanner. It may be most convenient to define surface are illuminated by the intersection. Step 590 directs
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 18 of 19 PageID #: 44


                                                   US 7,336,375 B1
                              15                                                                16
execution back to step 510 to process the new input until           characterizing a portion of  the surface of the object (the
Sufficient points are accumulated. This is the last step of a set intersection) relative to the Scanner.
of repeated steps which may be repeated until the approxi             Once the coordinates of the intersection for any given
mation satisfactory models the object. Satisfactory termina position of the scanner relative to the object have been
tion may be based on the percentage of Surface area of the transformed into object (global) coordinates, the method of
object that has been modeled, the minimum density of FIG. 6 proceeds like steps 570 through 595 of FIG. 5.
Surface points acquired, or some other condition.                      In an embodiment which allows the object being scanned
   Step 595 may generate a tessellation of patches modeling to be moved so that the object (global) coordinate system
the surface of the object. The patches may use some or all moves with the object, the scanner may not need to be
of the accumulated Surface points as vertices or control 10 moved at all. The object itself may be moved and rotated so
points for the patches, as is common in 3D computer that the (potentially stationary) pattern of structured light
graphics. The resulting tessellation may be displayed on a eventually intersects with the entire surface of the object (or
graphics screen in addition to or instead of the accumulated at least all parts of interest on the surface). See step 590 of
surface points of step 580. Conventional computer graphics FIG. 5 or step 690 of FIG. 6.
shading may be applied.                                          15   While the present invention has been disclosed with
   FIG. 6 Summarizes another embodiment method for wire             reference to certain preferred embodiments, numerous
lessly acquiring an approximation of the Surface geometry of modifications, alterations, and changes to the described
a 3-dimensional object, without needing to contact the embodiments are possible without departing from the sphere
object physically.                                                  and scope of the present invention, as defined in the
   Steps 600, 610, 620, 650, 670, 680, 690, and 695 of FIG. appended claims. Accordingly, it is intended that the present
6 are identical respectively to steps 500,510,520, 550, 570, invention not be limited to the described embodiments, but
580,590, and 595 of FIG. 5. Only the steps of FIG. 6 which that it have the full scope defined by the language of the
differ from corresponding steps of FIG. 5 will be explained following claims, and equivalents thereof.
below.
   Step 630 processes the image to obtain a set of one or 25 We    1. A
                                                                        claim:
                                                                         system for acquiring an approximation of a surface
more 2D pixel coordinates of points on the image of the geometry            of a 3-dimensional object within a 3-dimensional
intersection. While these coordinates may simply be integral object coordinate      system in known relationship to the object,
pixel coordinates in the frame of an imager of the scanner, wherein the system        comprises:
interpolation may be used to obtain higher resolution 2D 30 a non-contact Scanner,          including:
coordinates of points in the image. The pixel coordinates
may be interpolated within rows, within columns, or within            a source of structured light;
areas which contain portions of the image. Where a portion            an imaging electro-optical sensor;
the image forms a curved or straight line, Subpixel image             an image processor,
points may be limited to those which are on the centerline or 35      a wireless data transmitter; and
the centroid of the portion.                                          at least one position indicator;
   Step 640 wirelessly transmits the processed pixel or            a scanner tracking Subsystem configured to determine
subpixel coordinates to a receiver. The format of the trans           essentially continuously the 3D position of the non
mitted data may be something like that of formats 401, 403,           contact scanner as well as the 3D position of the
or 404 of FIG. 4. Step 640 parallels step 540 of FIG. 5, 40           structured light at the times when the imaging electro
except that points in the image of the intersection are not yet       optical sensor acquires an image;
converted to 3D coordinates of points on the intersection          a wireless data receiver configured to receive data trans
itself. That is, the conversion is delayed until a later step.        mitted from the wireless data transmitter; and
The method of FIG. 6 may be used in order to reduce the            a computer, in communication with the receiver, config
amount of computation required by the scanner.                  45
                                                                      ured to correlate each received datum temporally with
   Step 660 wirelessly receives the processed pixel coordi            a corresponding 3D scanner position, to transform the
nates, associating each coordinate set with the spatial loca          data into coordinates relative to the object coordinate
tion and orientation of the pattern of light at the time the          system according to the corresponding position of the
image associated with the Surface point data was formed.              Scanner, and to accumulate the transformed coordinates
   Step 665 requires geometrical information about the 50             as 3-dimensional Surface points to model the object
shape, location, and orientation of the pattern of structured         virtually.
light of step 610. Step 665 also requires geometrical infor        2. The system of claim 1, wherein the non-contact Scanner
mation about the location, orientation, and focal length (or is a 1-dimensional displacement sensor.
lens location) of the video camera (or other imager) with light    3. The system of claim 1, wherein the source of structured
respect to the pattern of light. The specific information about 55     intersects with the object at a singular point.
a particular scanner may be stored in a database and be            4. The system of claim 1, wherein the imaging electro
accessed by means of the serial number of the scanner. An optical sensor is a video camera.
embodiment may be able to download this information from           5. The system of claim 1, wherein the non-contact scanner
the scanner itself through the same means which transmits is a laser stripe triangulation scanner.
the pixel coordinate data.                                      60 6. The system of claim 1, wherein the source of structured
   Using the geometrical information about the 3D relation light intersects with the object as at least one stripe of light.
ship of the image to the pattern of light, step 665 converts       7. The system of claim 1, wherein the image processor
the pixel coordinates to 3D surface point coordinates relative excludes all sensor data, except data which characterizes an
to a scanner coordinate system defined with respect to the intersection of the structured light with the object.
pattern of light. This is essentially the same computation that 65 8. The system of claim 1, wherein the data transmitted by
was performed in step 530 of FIG. 5, where it was performed the transmitter comprises 3D coordinates of one or more
before the wireless transmission and reception of the data points where the structured light intersects with the object,
Case 2:23-cv-00479-JRG Document 1-2 Filed 10/12/23 Page 19 of 19 PageID #: 45


                                                   US 7,336,375 B1
                            17                                                                18
further wherein the coordinates are relative to a coordinate       a non-contact Scanner, including:
system in known relationship to the Source of structured             a source of structured light;
light.
   9. The system of claim 1, wherein the data transmitted by         an imaging electro-optical sensor;
the transmitter comprises 3D coordinates of one or more              an image processor capable of processing scanner data
points where the structured light intersects with the object,           and generating therefrom coordinate data character
further wherein the coordinates are relative to a coordinate            izing a portion of the geometry of the object relative
system in known relationship to the sensor.                             to a scanner coordinate system in known relationship
   10. The system of claim 1, wherein the data transmitted by           to the Scanner;
the transmitter comprises image coordinates of one or more 10
points in a 2D image of a 3D intersection of the structured          a wireless data transmitter to transmit some portion of
light with the object.                                                  the scanner and coordinate data; and
   11. The system of claim 10, wherein the 3D coordinates            at least one position indicator;
of one or more points in the intersection are computed after       a scanner tracking Subsystem which determines one or
the transmitted data is received by the receiver.             15
                                                                     more 3D positions of the non-contact scanner, each
   12. The system of claim 1, wherein the data is transmitted        position relative to the object and at a known point in
by an industry standard communication protocol.                      time; and
   13. The system of claim 1, wherein the data is transmitted
by a proprietary communication protocol.                        a computer, connected to a receiver, for receiving the
   14. The system of claim 1, wherein the scanner tracking         transmitted data and capable of correlating each coor
subsystem tracks the position of the structured light by           dinate datum with the temporally corresponding scan
tracking a least one position indicator on an assembly which       ner position, transforming each datum into coordinates
houses the source of the light.                                    relative to a coordinate system in known relationship to
   15. The system of claim 1, wherein the computer addi            the object, according to the corresponding positions of
tionally generates a tessellation of patches representing the 25   the scanner, and accumulating the coordinates to pro
surface of the object based on accumulated transformed             duce a model the object.
coordinates.
                                                                 18. The system of claim 17, wherein the scanner further
   16. The system of claim 1, wherein the data transmitted by includes
the transmitter includes a representation of the color of at           an energy source.
least one point on the surface of the object.                30  19. The system of claim 18, wherein the scanner, image
   17. A system for Scanning an object and constructing a processor, data transmitter, and energy source are collocated.
3-dimensional model of the object in a computer, compris
1ng:
